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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                     CRIMINAL NO. 17-134 (WMW/DTS)

      Plaintiff,

v.                                            ORDER

JOHN KELSEY GAMMELL,

      Defendant.


      A Superseding Indictment was filed in the above matter on November 8, 2017

[Docket No. 46]. The Arraignment Hearing on the Superseding Indictment will be held

at the same time as the motions hearing scheduled before the undersigned on

January 3, 2018 at 1:00 p.m. in Courtroom 9E, U.S. Courthouse, 300 South Fourth

Street, Minneapolis, Minnesota.

      IT IS HEREBY ORDERED that:

      1.      The Government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by November 21, 2017. D. Minn. LR 12.1(a)(1). In order to

avoid the need for a recess of the motions hearing, the Government is requested to

make by November 21, 2017 all disclosures which will be required by Fed. R. Crim.

P. 26.2 and 12(h).

      2.      Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by November 28, 2017. D. Minn. LR 12.1(a)(2).
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      3.     All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before December 5,

2017. 1 D. Minn. LR 12.1(c)(1). One courtesy copy of all motions and responses must

be delivered directly to the chambers of Magistrate Judge David T. Schultz. 2

      4.     Counsel must electronically file a letter on or before December 5, 2017 if

no motions will be filed and there is no need for a motions hearing.

      5.     All responses to motions must be filed by December 19, 2017. D. Minn.

LR 12.1(c)(2).

      6.     Any Notice of Intent to Call Witnesses3 must be filed by December 19,

2017. D. Minn. LR 12.1(c)(3)(A).

      7.     Any Responsive Notice of Intent to Call Witnesses4 must be filed by

December 22, 2017. D. Minn. LR 12.1(c)(3)(B).

      8.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:



1
       “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must
confer with the responding party. The parties must attempt in good faith to clarify and
narrow the issues in dispute.” D. Minn. LR 12.1(b).
2
       U.S. Mail or hand-deliver to Chambers 9E, U.S. Courthouse, 300 South Fourth
Street, Minneapolis, MN 55415.
3
       “When a party intends to call witnesses at a hearing on a motion under Fed. R.
Crim. P. 12(b), the party must file a notice within 35 days after the arraignment. The
notice must identify the number of witnesses whom the party intends to call, the motion
or motions that each witness will be addressing, and the estimated duration of each
witness’s testimony.” D. Minn. LR 12.1(c)(3)(A).
4
       “If after reviewing a notice under LR 12(c)(3), a party intends to call witnesses at
the same hearing, that party must file a responsive notice within 38 days after the
arraignment. The responsive party must identify the number of witnesses whom the
party intends to call, the motion or motions each witness will be addressing, and the
estimated duration of each witness’s testimony.” D. Minn. LR 12.1(c)(3)(B).
                                            2
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               a.      The Government makes timely disclosures and defendant identifies
                       in the motions particularized matters for which an evidentiary
                       hearing is necessary; or

               b.      Oral argument is requested by either party in its motion, objection
                       or response pleadings.

         9.    If required, the motions hearing will be heard before Magistrate Judge

David T. Schultz on January 3, 2018 at 1:00 p.m. in Courtroom 9E, U.S. Courthouse,

300 South Fourth Street, Minneapolis, Minnesota. D. Minn. LR 12.1(d).

         10.   TRIAL:

               a.      If no pretrial motions are filed by Defendant, the following trial

and trial-related dates are: Voir Dire, Jury Instructions and Motions in Limine shall be

filed with District Judge Wilhelmina Wright’s chambers on or before January 22, 2018.

Trial will commence before District Judge Wilhelmina Wright at 9:00 a.m. on

February 12, 2018 in Courtroom 3B, U.S. Courthouse, 316 North Robert Street,

St. Paul, Minnesota.

               b.      If pretrial motions are filed, the trial date, and other related dates,

will be rescheduled following the ruling on pretrial motions.         Counsel must contact

Terianne Bender, Courtroom Deputy for District Judge Wilhelmina M. Wright, at 651-

848-1646, to confirm the new trial date.

Dated:         November 14, 2017

                                                   s/ David T. Schultz
                                                   DAVID T. SCHULTZ
                                                   United States Magistrate Judge




                                               3
